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 6

 7   Attorneys for Lead Plaintiffs
     Craig Taffel, Casey Minnick, Dimitrios Daniil,
 8   Ali Alkhateeb , and Yisroel Lieber

 9                              UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12

13   IN RE TERRAVIA HOLDINGS, INC.,                   Case No. 3:16-cv-06633-JD
     SECURITIES LITIGATION
14                                                    CLASS ACTION
15                                                    STIPULATION AND [PROPOSED]
                                                      ORDER SETTING HEARING DATE
16                                                    FOR THE INDIVIDUAL
                                                      DEFENDANTS’ MOTION TO DISMISS
17

18                                                    Ctrm:    11 – 19th Floor
                                                      Judge:   Hon. James Donato
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     STIPULATION AND [PROPOSED] ORDER SETTING HEARING DATE FOR THE INDIVIDUAL
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 1          Lead Plaintiffs Craig Taffel (“Taffel”), Casey Minnick (“Minnick”), Dimitrios Daniil
 2   (“Daniil”), Ali Alkhateeb (“Alkhateeb”), and Yisroel Lieber (“Lieber”) (collectively, “Lead
 3   Plaintiffs” or the “Terra Via Investor Group”) and Individual Defendants Apurva S. Mody,
 4   Tyler W. Painter, and Johnathan S. Wolfson (collectively, the “Individual Defendants”),
 5   through their undersigned counsel, hereby submit this Stipulation and [Proposed] Order setting
 6   a hearing date with respect to the Individual Defendants’ Motion to Dismiss Plaintiffs’
 7   Consolidated Amended Class Action Complaint (the “Motion to Dismiss”) (Dkt. 41.)
 8                                                RECITALS
 9          A.      On April 7, 2017 this Court appointed the members of the TerraVia Investor
10   Group – Taffel, Minnick, Daniil, Alkhateeb, and Leiber – as Lead Plaintiffs in the above
11   captioned matter (the “Action”). (See Dkt. 36 at 1.) (the “Lead Plaintiff Order”).
12          B.      The Lead Plaintiff Order included the following deadlines and briefing schedule:
13   “Lead plaintiffs are ordered to file a consolidated amended complaint by April 26, 2017.
14   Defendants are to respond to the complaint by May 26, 2017. If defendants file a motion to
15   dismiss, plaintiffs’ response is due in 30 days, and any reply is due in 21 days.” Id. at 2
16   (emphasis in original). The Court further ordered that “[a] hearing is to be noticed no earlier
17   than 21 days after the close of briefing.” Id. at 2.
18          C.      Pursuant to the Lead Plaintiff Order, Lead Plaintiffs filed their Consolidated
19   Amended Complaint on April 26, 2017 (Dkt. 39), Defendants filed the Motion to Dismiss on
20   May 26, 2017, Plaintiffs filed their Opposition to the Motion to Dismiss on June 26, 2017 (Dkt.
21   45), and Defendants filed their Reply in support of the Motion to Dismiss on July 17, 2017.
22   (Dkt. 47).
23          D.      In accordance with the Lead Plaintiff Order, Defendants noticed a hearing on the
24   motion for August 24, 2017. (See Dkt. 39.)
25          E.      On August 2, 2017, Defendant TerraVia Holdings, Inc. (“TerraVia”) and
26   affiliated entities filed for bankruptcy protection pursuant to chapter 11 of title 11 of the United
27   States Code (the “Bankruptcy”). (See Dkt. 48.) The Bankruptcy proceeding is pending in the

28   United States Bankruptcy Court for the District of Delaware. (Id.)
     STIPULATION AND [PROPOSED] ORDER SETTING HEARING DATE FOR THE INDIVIDUAL
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 1          F.      On August 7, 2017, Defendants provided notice of the Bankruptcy and the
 2   automatic stay provided for in 11 U.S.C. § 362. (See Dkt. 48.)
 3          G.      On August 9, 2017, this Court entered an order staying this case in its entirety
 4   for all defendants pending the Bankruptcy and requested updates every 90 days. (Dkt. 49.)
 5          H.      On October 4, 2017, the Court lifted the stay with respect to the Individual
 6   Defendants only. (Dkt. 57). However, the Court did not reschedule the hearing date for the
 7   Individual Defendants’ Motion to Dismiss.1
 8                                    STIPULATION
            NOW, THEREFORE, the undersigned hereby agree, subject to Court approval, as
 9
     follows:
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            1.      The hearing on the Individual Defendants’ Motion to Dismiss shall either be
11
     rescheduled at a date and time to be determined by the Court or, alternately, vacated, and the
12
     Court will issue a decision on the papers.
13

14                                                By: /s/Louis C. Ludwig
                                                  Louis C. Ludwig
15

16                                                POMERANTZ LLP
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21
                                                  Lead Counsel for Plaintiffs
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24   DATED: October 9, 2017                       MORRISON & FOERSTER LLP

25                                                By: /s/Mark R.S. Foster
                                                  Mark R.S. Foster
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27   1
      While the Motion to Dismiss was filed on behalf of TerraVia and the Individual Defendants, it
     can be decided with respect to the Individual Defendants only.
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 4                                        Attorneys for Defendants
                                          JONATHAN S. WOLFSON, APURVA S. MODY,
 5                                        and TYLER W. PAINTER

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     STIPULATION AND [PROPOSED] ORDER SETTING HEARING DATE FOR THE INDIVIDUAL
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 1                                 [PROPOSED] ORDER
 2         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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 4   Dated: _____________, 2017
 5                                    The Honorable James Donato
                                      United States District Judge
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     STIPULATION AND [PROPOSED] ORDER SETTING HEARING DATE FOR THE INDIVIDUAL
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 1

 2                                    CERTIFICATE OF SERVICE

 3          I, Louis C. Ludwig, hereby declare under penalty of perjury as follows:
 4          I am an attorney at Pomerantz LLP, located at 10 South LaSalle, Suite 3505 Chicago, IL

 5   60603. I am over the age of eighteen.
            On October 9, 2017, I electronically filed the following document with the Clerk of the
 6
     Court by using the CM/ECF system: STIPULATION AND [PROPOSED] ORDER
 7
     SETTING HEARING DATE FOR THE INDIVIDUAL DEFENDANTS’ MOTION TO
 8
     DISMISS
 9          Participants in the case who are registered CM/ECF users will be served by the CM/ECF
10   system.
11          I certify under penalty of perjury under the laws of the United States of America that the
     foregoing in true and correct.
12

13          Executed on October 9, 2017.
14

15
                                                         /s/ Louis C. Ludwig
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     STIPULATION AND [PROPOSED] ORDER SETTING HEARING DATE FOR THE INDIVIDUAL
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     CASE NO. 3:16-cv-06633-JD
